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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:12CR17
                                                )
       v.                                       )   FINDINGS AND RECOMMENDATION
                                                )               AND
RELXFORD L. HAYES,                              )              ORDER
                                                )
                      Defendant.                )


       At the conclusion of the hearing on April 25, 2012, on the defendant’s motion to
dismiss, I stated my conclusions on the record and my decision to recommend that the
motion to dismiss be denied. In accordance with that announcement,


       IT IS RECOMMENDED to the Honorable Lyle E. Strom, Senior United States District
Judge, that the motion to dismiss, Filing No. 33, be denied as set forth in the oral Findings
and Recommendation.


       FURTHER, IT IS ORDERED:
       Pursuant to NECrimR 59.2 any objection to this Findings and Recommendation shall
be filed with the Clerk of the Court within fourteen (14) days after the transcript is available
to counsel for reading in the clerk’s office. Failure to timely object may constitute a waiver
of any such objection. The brief in support of any objection shall be filed at the time of filing
such objection. Failure to file a brief in support of any objection may be deemed an
abandonment of the objection.
       Dated this 3rd day of May, 2012.
                                            BY THE COURT:
                                            s/ Thomas D. Thalken
                                            United States Magistrate Judge
